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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

LUXOTTICA GROUP S.p.A., OAKLEY,
INC., and COSTA DEL MAR, INC.,               Case No. 22-cv-01306

                  Plaintiffs,                Judge Virginia M. Kendall

     v.                                      Magistrate Judge Sunil R. Harjani

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                  Defendants.




                            Declaration of Jason Groppe




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                           DECLARATION OF JASON GROPPE

       I, Jason Groppe, declare and state as follows:

1.     This declaration is based upon my personal knowledge of the facts stated herein or on the

       business records that were made at the time or in the regular course of business. If called

       as a witness, I could and would testify to the statements made herein.

2.     I am Assistant General Counsel, Global Intellectual Property Enforcement for Luxottica

       U.S. Holdings Corp., a subsidiary of Luxottica Group S.p.A., which is a subsidiary of

       EssilorLuxottica (collectively, “Luxottica”). Plaintiffs Oakley, Inc. (“Oakley”) and Costa

       Del Mar, Inc. (“Costa”) are subsidiaries of Luxottica. Luxottica, Oakley, and Costa are

       collectively referred to herein as “Plaintiffs.” I am knowledgeable of or have access to

       business records concerning all information referenced herein, including, but not limited

       to, Plaintiffs’ trademarks, copyrights, other intellectual property, sales, on-line sales,

       advertising, marketing and media coverage. I make this declaration from matters within my

       own knowledge save where otherwise stated.

3.     Plaintiff Luxottica Group S.p.A. is a corporation duly organized under the laws of Italy

       with its principal place of business in Milan, Italy and an office located at 4000 Luxottica

       Place, Mason, Ohio 45040-8114. Plaintiff Oakley, Inc. is a corporation organized and

       existing under the laws of the State of Washington, having its principal place of business at

       One Icon, Foothill Ranch, California 92610. Plaintiff Costa Del Mar, Inc. is a corporation

       duly organized under the laws of Florida with its principal place of business in Daytona

       Beach, Florida and an office located at 2361 Mason Avenue, Suite 100, Daytona Beach,

       Florida, 32117-5166.




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4.     Plaintiffs are engaged in the business of producing, manufacturing and distributing

       throughout the world, including within this judicial district, premium, luxury and sports

       eyewear products under federally registered trademarks, including, but not limited to, under

       the RAY-BAN, OAKLEY, and COSTA trademarks.

5.     For generations, the Plaintiffs’ brands have been the undisputed world leaders in the field

       of sun and prescription eyewear products, including those which prominently display the

       famous, internationally recognized, and federally registered RAY-BAN, OAKLEY, and

       COSTA trademarks (collectively, the “Plaintiffs’ Products”).

6.     Plaintiffs’ Products have become enormously popular and even iconic, driven by the

       brand’s arduous quality standards and innovative design. Among the purchasing public,

       genuine Plaintiffs’ Products are instantly recognizable as such. In the United States and

       around the world, Plaintiffs’ brands have come to symbolize high quality, and Plaintiffs’

       Products are among the most recognizable eyewear in the world. Plaintiffs’ Products are

       distributed and sold to consumers through retailers throughout the United States, including

       through authorized retailers in Illinois such as Sunglass Hut, Oakley O Stores, high-end

       department stores, and through the official websites at ray-ban.com, oakley.com, and

       costadelmar.com.

7.     Plaintiffs incorporate a variety of distinctive marks in the design of the various Plaintiffs’

       Products. As a result of long-standing use, Plaintiffs own common law trademark rights in

       the Plaintiffs’ Trademarks. Plaintiffs have also registered several of the trademarks with the

       United States Patent and Trademark Office. Plaintiffs’ Products often include at least one

       of Plaintiffs’ registered trademarks. Plaintiffs use their trademarks in connection with the




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   marketing of Plaintiffs’ Products, including the following registered marks, collectively

   referred to as the “Plaintiffs’ Trademarks.”

Registration                      Trademark                        Goods and Services
 Number
                                                                For: Ophthalmic products
                                                                and accessories-namely,
                                                                sunglasses; eyeglasses;
 1,080,886                        RAY-BAN                       spectacles; lenses and
                                                                frames for sunglasses,
                                                                eyeglasses, and spectacles
                                                                in class 9.
                                                                For: Goods made of
                                                                leather and imitation
                                                                leather, namely, wallets,
                                                                card cases for business
                                                                cards, calling cards, name
                                                                cards and credit cards in
 2,718,485                        RAY-BAN                       class 18.

                                                                For: Clothing for men and
                                                                women, namely, polo
                                                                shirts; headgear, namely,
                                                                berets and caps in class
                                                                25.
                                                                For: Sun glasses in class
  595,513                        WAYFARER                       9.
 1,537,974                      CLUBMASTER                      For: Sunglasses in class 9.

                                                                For: Sun glasses, shooting
  650,499                                                       glasses, and ophthalmic
                                                                lenses in class 9.
                                                                For: Ophthalmic products
                                                                and accessories-namely,
                                                                sunglasses; eyeglasses;
                                                                spectacles; lenses and
                                                                frames for sunglasses,
 1,093,658                                                      eyeglasses, spectacles;
                                                                and cases and other
                                                                protective covers for
                                                                sunglasses, eyeglasses,
                                                                and spectacles in class 9.




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                                                       For: Bags; namely, tote,
                                                       duffle and all purpose
                                                       sports bags in class 18.

                                                       For: Cloths for cleaning
1,726,955                                              opthalmic products in
                                                       class 21.

                                                       For: Clothing and
                                                       headgear; namely, hats in
                                                       class 25.

                                                       For: Sunglasses and
1,320,460                                              carrying cases therefor in
                                                       class 9.


                                                       For: Sunglasses,
                                                       eyeglasses, lenses for
3,522,603                                              eyeglasses, eyeglasses
                                                       frames, and cases for
                                                       eyeglasses in class 9.

                                                       For: Sunglasses and
                                                       accessories for
                                                       sunglasses, namely,
1,521,599                    OAKLEY                    replacement lenses, ear
                                                       stems and nose pieces in
                                                       class 9.



                                                       For: Clothing, namely,
1,522,692                    OAKLEY                    shirts and hats in class 25.




1,552,583                    OAKLEY                    For: Goggles in class 9.



                                                       For: Clothing, headwear
                                                       and footwear and
                                                       footwear, namely, sport
                                                       shirts, jerseys, shirts,
2,293,046                    OAKLEY                    jackets, vests, sweatshirts,
                                                       pullovers, coats, ski pants,
                                                       headwear, caps, shoes,
                                                       athletic footwear, all

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                                                       purpose sports footwear
                                                       and socks in class 25.




                                                       For: Prescription eyewear,
                                                       namely, sunglasses and
                                                       spectacles; eyewear
                                                       containing electronics
                                                       devices, namely,
                                                       protective eyewear,
                                                       eyeglasses, sunglasses
                                                       and spectacles;
                                                       electronics, namely
                                                       portable digital electronic
                                                       devices for recording,
                                                       organizing, and reviewing
                                                       text, data and audio files;
                                                       computer software for use
                                                       in recording, organizing,
                                                       and reviewing text, data
                                                       and audio files on
                                                       portable digital electronic
                                                       devices; transmitters,
                                                       receivers, speakers and
3,153,943                    OAKLEY                    parts thereof for use with
                                                       cellular, wireless
                                                       computer and telephone
                                                       communication systems;
                                                       communication devices
                                                       for use on eyewear,
                                                       namely earpieces,
                                                       transmitters, receivers,
                                                       speakers and parts thereof
                                                       for use with cellular,
                                                       wireless computer and
                                                       telephone communication
                                                       systems; wearable audio
                                                       visual display, namely,
                                                       protective eyewear,
                                                       eyeglasses, sunglasses
                                                       and spectacles containing
                                                       an audio visual display;
                                                       wireless
                                                       telecommunications
                                                       modules in class 9.




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                                                       For: Retail store services
                                                       and on-line retail store
                                                       services featuring
                                                       eyewear, replacement
                                                       lenses, eyewear nosepiece
3,771,517                    OAKLEY                    kits, clothing, headwear,
                                                       footwear, watches, decals,
                                                       electronics devices,
                                                       posters, athletic bags,
                                                       handbags, backpacks and
                                                       luggage in class 35.
                                                       For: Protective and/or
                                                       anti-glare eyewear,
                                                       namely sunglasses,
                                                       goggles, spectacles and
                                                       their parts and
                                                       accessories, namely
                                                       replacement lenses,
1,980,039                                              earstems, frames, nose
                                                       pieces and foam strips;
                                                       cases specially adapted
                                                       for protective and/or anti-
                                                       glare eyewear and their
                                                       parts and accessories in
                                                       class 9.
                                                       For: Goggles, sunglasses,
                                                       and protective pads for
                                                       elbows, feet and knees in
                                                       class 9.
                                                       For: Clothing - namely t-
1,356,297                                              shirts; gloves; racing
                                                       pants; hats; sweatshirts;
                                                       sport shirts, jackets, jeans,
                                                       jerseys and ski pants,
                                                       jackets, hats, gloves and
                                                       socks in class 25.
                                                       For: Sunglasses and
                                                       accessories for
                                                       sunglasses, namely,
1,519,596                                              replacement lenses, ear
                                                       stems and nose pieces in
                                                       class 9.
                                                       For: Clothing, namely, t-
                                                       shirts, beach-wear,
                                                       blouses, sports shirts,
                                                       jerseys, swimwear,
                                                       swimtrunks, shorts,
3,496,633                                              underwear, shirts, pants,
                                                       racing pants, ski and
                                                       snowboard pants and
                                                       jackets, jeans, vests,
                                                       jackets, wetsuits,

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                                                       sweaters, pullovers, coats,
                                                       sweatpants, headwear,
                                                       namely, hats, caps, visors
                                                       and footwear, namely,
                                                       wetsuit booties, shoes,
                                                       sandals, athletic footwear,
                                                       all purpose sports
                                                       footwear, thongs and
                                                       boots in class 25.
                                                       For: Protective eyewear,
                                                       namely spectacles,
                                                       prescription eyewear, anti
                                                       glare glasses and
                                                       sunglasses and their parts
                                                       and accessories, namely
                                                       replacement lenses,
                                                       frames, earstems, and
                                                       nose pieces; cases
                                                       specially adapted for
                                                       spectacles and sunglasses
                                                       and their parts and
                                                       accessories; and
                                                       protective clothing,
                                                       namely, racing pants in
                                                       class 9.

3,331,124                                              For: Clothing, namely, t-
                                                       shirts, beach-wear,
                                                       blouses, sports shirts,
                                                       jerseys, swimwear,
                                                       swimtrunks, shorts,
                                                       underwear, shirts, pants,
                                                       ski and snowboard pants
                                                       and jackets, jeans, vests,
                                                       jackets, wetsuits,
                                                       sweaters, pullovers, coats,
                                                       sweatpants, headwear,
                                                       namely, hats, caps, visors
                                                       and footwear, namely
                                                       wetsuit booties, shoes,
                                                       sandals, athletic footwear,
                                                       all purpose sports
                                                       footwear, thongs and
                                                       boots in class 25.
                                                       For: Protective eyewear,
                                                       namely spectacles,
                                                       prescription eyewear, anti
                                                       glare glasses and
3,151,994                                              sunglasses and their parts
                                                       and accessories, namely
                                                       replacement lenses,
                                                       frames, earstems, and
                                                       nose pieces; cases

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                                                       specially adapted for
                                                       spectacles and sunglasses
                                                       and their parts and
                                                       accessories in class 9.



                                                       For: Retail store services
                                                       and on-line retail store
                                                       services featuring
                                                       eyewear, replacement
                                                       lenses, eyewear nosepiece
3,771,516                                              kits, clothing, headwear,
                                                       footwear, watches, decals,
                                                       electronics devices,
                                                       posters, athletic bags,
                                                       handbags, backpacks and
                                                       luggage in class 35.
                                                       For: Clothing, namely, T-
                                                       shirts, beachwear,
                                                       blouses, sports shirts,
                                                       jerseys, shorts, shirts,
                                                       pants, racing pants, ski
                                                       pants, vests, jackets,
                                                       sweaters, pullovers, coats,
2,300,245                                              sweatpants, sweatshirts,
                                                       headwear, namely, hats,
                                                       caps, and footwear,
                                                       namely, shoes, athletic
                                                       footwear, all purpose
                                                       sports footwear in class
                                                       25.
                                                       For: Printed material,
1,927,106                                              namely decals and
                                                       stickers in class 16.
                                                       For: Protective and/or
                                                       anti-glare eyewear,
                                                       namely sunglasses,
                                                       goggles, spectacles and
                                                       their parts and
                                                       accessories, namely
                                                       replacement lenses,
                                                       earstems, frames, nose
1,984,501                                              pieces and foam strips;
                                                       cases specially adapted
                                                       for protective and/or anti-
                                                       glare eyewear and their
                                                       parts and accessories in
                                                       class 9.

                                                       For: Clothing and
                                                       headwear, namely T-

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                                                        shirts, sweatshirts,
                                                        jackets, hats, and caps in
                                                        class 25.




 5,109,790                                              For: Gloves in class 25.

                                                        For: Eyewear, namely,
                                                        sunglasses, sports
                                                        goggles, spectacles and
                                                        their parts and
                                                        accessories, namely,
 4,407,750                  CROSSLINK                   replacement lenses, ear
                                                        stems, frames, nose pieces
                                                        and foam strips; cases
                                                        specially adapted for
                                                        eyewear and their parts
                                                        and accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 3,733,882                    IRIDIUM                   replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Eyewear, namely,
                                                        sunglasses, spectacles and
                                                        their parts and
 4,827,569                 JAWBREAKER                   accessories, namely,
                                                        replacement lenses and
                                                        frames, in class 9.
                                                        For: Eyewear, namely,
                                                        sunglasses, sports
                                                        goggles, spectacles and
                                                        their parts and
                                                        accessories, namely,
 4,407,749                 RADARLOCK                    replacement lenses, ear
                                                        stems, frames, nose pieces
                                                        and foam strips; cases
                                                        specially adapted for
                                                        eyewear and their parts
                                                        and accessories in class 9.


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                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 3,489,952                    OIL RIG                   replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Eyewear, namely
                                                        sunglasses and
                                                        accessories for
 4,194,197                  FROGSKINS                   sunglasses, namely,
                                                        replacement lenses, ear
                                                        stems and nose pieces in
                                                        class 9.
                                                        For: Eyewear, namely,
                                                        sunglasses, goggles,
                                                        spectacles and their parts
                                                        and accessories, namely,
                                                        replacement lenses, ear
 4,847,461                     FLAK                     stems, frames, nose pieces
                                                        and foam strips; cases
                                                        specifically adapted for
                                                        eyewear and their parts
                                                        and accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 3,379,110                    RADAR                     replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Eyewear, namely,
                                                        sunglasses, spectacles and
                                                        their parts and
 5,026,399                    LATCH                     accessories, namely,
                                                        replacement lenses,
                                                        frames, in class 9.




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                                                        For: Protective and anti-
                                                        glare eyewear, namely,
                                                        sunglasses, goggles,
                                                        spectacles and their parts
                                                        and accessories, namely,
 4,822,664                SI TOMBSTONE                  replacement lenses, ear
                                                        stems, frames, nose pieces
                                                        and foam strips; cases
                                                        specifically adapted for
                                                        protective and anti-glare
                                                        eyewear in class 9.
                                                        For: Protective eyewear,
                                                        namely spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely
 3,245,494                    GASCAN                    replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Eyewear, namely,
 4,956,691                 TRIGGERMAN                   sunglasses in class 9.

                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 3,680,975                FIVES SQUARED                 replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely spectacles,
                                                        prescription eyewear,
                                                        namely, spectacles and
                                                        sunglasses, anti-glare
                                                        glasses and sunglasses
 2,900,432                    VALVE                     and parts thereof, namely
                                                        replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        in class 9.

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                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 3,941,018                     PATH                     replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 5,026,407               JUPITER SQUARED                replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 4,136,113                   BATWOLF                    replacement lenses,
                                                        frames, ear stems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Protective eyewear;
                                                        namely, goggles, anti-
                                                        glare glasses; sunglasses
                                                        and their parts; namely,
                                                        lenses, replacement
 1,701,476                   M FRAME                    lenses, frames, earstems
                                                        and nose pieces; cases
                                                        specially adapted for
                                                        sunglasses and their parts
                                                        in class 9.




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                                                        For: Protective and/or
                                                        anti-glare eyewear,
                                                        namely, sunglasses,
                                                        goggles, spectacles and
                                                        their parts and accessories
                                                        including replacement
 2,054,810              STRAIGHT JACKET                 lenses, earstems, frames,
                                                        nose pieces and foam
                                                        strips; cases specially
                                                        adapted for protective
                                                        and/or anti-glare eyewear
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
                           FLAK JACKET
 3,379,109                                              replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.
                                                        For: Eyewear, namely,
                                                        sunglasses, goggles,
                                                        spectacles and their parts
                                                        and accessories, namely,
                                                        replacement lenses, ear
 4,618,566                    TINCAN                    stems, frames, nose pieces
                                                        and foam strips; cases
                                                        specifically adapted for
                                                        eyewear and their parts
                                                        and accessories in class 9.
                                                        For: Protective and/or
                                                        antiglare eyewear,
                                                        namely, sunglasses,
                                                        goggles, spectacles and
                                                        their parts and
                                                        accessories, namely,
                                                        replacement lenses,
 2,106,614                 SQUARE WIRE                  earstems, frames, nose
                                                        pieces, and foam strips;
                                                        cases specially adapted
                                                        for protective and/or
                                                        antiglare eyewear and
                                                        their parts and accessories
                                                        in class 9.




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                                                        For: Protective and/or
                                                        anti-glare eyewear,
                                                        namely sunglasses,
                                                        goggles, spectacles and
                                                        their parts and
                                                        accessories, namely
 1,952,697                    JACKET                    replacement lenses,
                                                        earstems, frames, nose
                                                        pieces and foam strips;
                                                        cases specially adapted
                                                        for protective and/or anti-
                                                        glare eyewear in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles,
                                                        prescription eyewear, anti
                                                        glare glasses and
                                                        sunglasses and their parts
                                                        and accessories, namely,
 3,468,824                    HIJINX                    replacement lenses,
                                                        frames, earstems, and
                                                        nose pieces; cases
                                                        specially adapted for
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.

                                                        For: Protective eyewear,
                                                        namely, goggles and
 2,087,464                   O FRAME                    replacement parts for
                                                        goggles in class 9.



                                                        For: Protective eyewear,
                                                        namely, goggles and
 2,087,466                   E FRAME                    replacement parts for
                                                        goggles in class 9.


                                                        For: Sporting goods,
                                                        namely goggles and
                                                        replacement parts for
 3,126,622                  CROWBAR                     goggles for skiing,
                                                        snowboarding and
                                                        motocross in class 9.
                                                        For: Protective eyewear;
                                                        namely, spectacles,
                                                        goggles, antiglare glasses
 1,778,325                    HYBRID                    and sunglasses, and their
                                                        parts and accessories;
                                                        namely, replacement
                                                        lenses, frames, earstems

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                                                        and nose pieces; cases
                                                        specially adapted to hold
                                                        spectacles and sunglasses
                                                        and their parts and
                                                        accessories in class 9.



                                                        For: Protective and/or
                                                        anti-glare eyewear,
 2,250,767                    ROMEO                     namely, sunglasses, and
                                                        spectacles in class 9.

                                                        For: Eyewear, namely,
                                                        sunglasses, goggles for
                                                        sports, spectacles and
                                                        their parts and
                                                        accessories, namely,
 5,636,292                  HOLBROOK                    replacement lenses, ear
                                                        stems, frames, nose pieces
                                                        and foam strips; cases
                                                        specifically adapted for
                                                        eyewear and their parts
                                                        and accessories in class 9.
                                                        For: Protective eyewear,
                                                        namely, spectacles, anti-
                                                        glare glasses and
 2,393,107                                              sunglasses and parts
                                                        thereof, namely frames
                                                        and earstems in class 9.

                                                        For: Protective eyewear,
                                                        namely, spectacles, anti-
                                                        glare glasses, and
 2,403,609                                              sunglasses and parts
                                                        thereof, namely, frames
                                                        and earstems in class 9.
                                                        For: protective and/or
                                                        anti-glare eyewear,
                                                        namely, sunglasses,
                                                        spectacles, and their parts
                                                        and accessories, namely,
                                                        replacement lenses,
 2,388,070                    JULIET                    earstems, frames, nose
                                                        pieces and foam strips;
                                                        cases specially adapted
                                                        for protective and/or anti-
                                                        glare eyewear and their
                                                        parts and accessories in
                                                        class 9.


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                                                        For: protective and/or
                                                        anti-glare eyewear,
                                                        namely sunglasses,
                                                        spectacles, goggles and
                                                        their parts and
                                                        accessories, namely
                                                        replacement lenses,
 2,155,819                   X-METAL                    earstems, frames, nose
                                                        pieces and foam strips;
                                                        glasses specially adapted
                                                        for protective and/or anti-
                                                        glare eyewear, and their
                                                        parts and accessories in
                                                        class 9.
                                                        For: Protective and/or
                                                        anti-glare eyewear,
                                                        namely, sunglasses, and
 4,813,708                                              their parts and
                                                        accessories, namely,
                                                        replacement lenses, in
                                                        class 9.


                                                        For: sunglasses and
 3,857,379                    COSTA                     sunglass frames in class
                                                        009.


                                                        For: eyeglasses and
                                                        related accessories,
                                                        namely, eyeglass lenses,
 5,653,368                    COSTA                     eyeglass cases in class
                                                        009.

                                                        For: On-line retail store
                                                        services featuring
                                                        sunglasses and related
                                                        accessories, namely,
 4,163,647                    COSTA                     sunglass lenses, retention
                                                        cords, and clothing,
                                                        namely shirts and hats in
                                                        class 035.


                                                        For: sunglasses and
                                                        sunglass frames in class
 3,773,612                    COSTAS                    009.




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                                                        For: sunglasses in class
 1,723,449               COSTA DEL MAR                  009.




                                                        For: clothing, namely,
 3,002,972               COSTA DEL MAR                  hats, shirts in class 025.




                                                        For: eyewear, namely,
                                                        sunglasses, sunglass
 5,729,388                   DEL MAR                    frames, and sunglass
                                                        lenses in class 009.


                                                        For: eyewear cleaning
                                                        solution in class 003.

                                                        For: eyeglass lanyards;
                                                        waterproof dry cases for
                                                        cell phones in class 009.

                                                        For: stickers, decals,
                                                        bumper stickers,
                                                        decorative decals for
                                                        vehicle windows in class
                                                        016.

                                                        For: bottle openers;
                                                        drinking glasses, namely,
 5,944,853                                              tumblers, insulated
                                                        containers for beverages,
                                                        heat-insulated containers
                                                        for beverages, containers
                                                        for hot beverages,
                                                        containers for cold
                                                        beverages, coffee and tea
                                                        mugs; microfiber cloths
                                                        for cleaning in class 021.

                                                        For: lanyards for holding
                                                        keys in class 022.

                                                        For: neck gaiters; knit face
                                                        masks; bandanas in class
                                                        025.


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                                                        For: clothing, namely,
 4,520,088                                              shirts and hats in class
                                                        025.



                                                        For: eyeglasses and
                                                        related accessories,
 5,646,820                                              namely, eyeglass lenses,
                                                        eyeglass cases in class
                                                        009.



                                                        For: sunglasses, sunglass
 3,273,228                                              frames, sunglass lenses in
                                                        class 009.




                                                        For: backpacks, beach
 5,465,884                                              bags, tote bags, duffle
                                                        bags in class 018.




                                                        For: eyeglasses and
                                                        related accessories,
 5,653,366                                              namely, eyeglass lenses,
                                                        eyeglass cases in class
                                                        009.




                                                        For: sunglasses, sunglass
 3,273,229                                              frames, sunglass lenses in
                                                        class 009.




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                                                        For: combination
                                                        sunglasses and reading
 3,420,371                   C-MATES                    glasses in class 009.



                                                        For: sunglass lenses;
                                                        sunglass lens coatings
                                                        sold as an integral
 4,599,722                    C-WALL                    component of sunglasses
                                                        in class 009.



                                                        For: sunglasses and
                                                        sunglass frames, sunglass
 3,711,018                  COSTA 580                   lenses in class 009.




                                                        For: sunglass lenses in
 4,891,374                      580                     class 009.




                                                        For: sunglasses, sunglass
 4,771,385             BEYOND POLARIZED                 lenses in class 009.




                                                        For: sunglasses, sunglass
                                                        frames, sunglass lenses in
 4,767,077             BORN ON THE WATER                class 009.




                                                        For: sunglasses, sunglass
                                                        frames, sunglass lenses in
 3,274,581            SEE WHAT'S OUT THERE              class 009.




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                                                        For: clothing made from
                                                        recycled materials,
                                                        namely, t-shirts in class
                                                        025.

                                                        For: providing a website
                                                        featuring information
 5,446,112                 KICK PLASTIC                 about recycling in class
                                                        040.

                                                        For: providing a website
                                                        featuring information
                                                        about environmental
                                                        conservation in class 042.



                             HIGHLINE                   For: eyewear, namely,
 4,768,671                                              sunglasses in class 009.




                                                        For: sunglasses, sunglass
                                                        frames, sunglass lenses in
 3,274,582                   FATHOM                     class 009.




                                                        For: optical and sunglass
 2,899,507                 LIGHTWAVE                    lenses in class 009.




                                                        For: sunglasses in class
 3,153,673                   SILENCER                   009.




                                                        For: sunglasses and
                                                        sunglass frames in class
 3,729,798                     ZANE                     009.




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                                                        For: sunglasses, sunglass
                                                        frames, and sunglass
 4,342,211                   BLACKFIN                   lenses in class 009.




                                                        For: sunglasses, sunglass
                                                        frames, sunglass lenses in
 3,270,766                HAMMERHEAD                    class 009.




                                                        For: sunglasses, sunglass
                                                        frames, sunglass lenses in
 3,270,765                   HARPOON                    class 009.




                                                        For: sunglasses and
 3,067,284                   HARDTOP                    frames in class 009.




                                                        For: sunglasses in class
 2,312,428                 RHYNO-TUFF                   009.




                                                        For: sunglasses in class
 2,306,527      ANTI-OCULAR INTRUSION SYSTEM            009.


                                                        For: sunglasses and
                                                        related accessories,
                                                        namely, sunglasses cases,
                                                        retention cords,
                                                        replacement parts, and
 3,837,688                       N                      temple-bar release
                                                        devices; sports goggles
                                                        for snow sports and
                                                        motorsports in class 009.



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                                                        For: sunglasses and
                                                        related accessories,
                                                        namely, sunglasses cases,
                                                        retention cords,
 3,837,682                                              replacement parts, and
                                                        temple-bar release
                                                        devices; sports goggles
                                                        for snow sports and
                                                        motorsports in class 009.

                                                        For: eyewear, namely,
                                                        sports goggles for snow
 3,581,846                    NATIVE                    sports and motorsports in
                                                        class 009.


                                                        For: sunglasses and
                                                        related accessories,
                                                        namely, sunglass lenses,
                                                        sunglass cases and
                                                        sunglass retention cords;
                                                        sports goggles for snow
                                                        sports in class 009.
 5,956,148
                                                        For: online retail store
                                                        services, featuring
                                                        sunglasses and related
                                                        accessories, namely,
                                                        sunglass lenses, frames,
                                                        nose pads, temple boots,
                                                        and cases in class 035.


                                                        For: hats and shirts in
 5,875,336                                              class 025.




                                                        For: goggles for ski
 5,201,379                                              sports; ski goggles; snow
                                                        goggles in class 009.




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                                                                      For: sports eyewear and
      4,114,951                                                       sunglasses in class 009.




                                                                      For: eyewear, namely,
                                                                      sports eyewear and
      3,431,239                                                       sunglasses in class 009.




      3,245,770
                                                                      For: sports eyewear and
                                                                      sunglasses in class 009.



8.      The above U.S. registrations for the Plaintiffs’ Trademarks are valid, subsisting, in full

        force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. True and correct

        copies of the United States Registration Certificates for the above-listed Plaintiffs’

        Trademarks are attached hereto as Exhibit 1.

9.      The Plaintiffs’ Trademarks are distinctive when applied to Plaintiffs’ Products, signifying

        to the purchaser that the products come from Plaintiffs and are manufactured to Plaintiffs’

        quality standards. Whether Plaintiffs manufacture the products or contract with others to

        do so, Plaintiffs have ensured that products bearing Plaintiffs’ Trademarks are

        manufactured to the highest quality standards.

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10.      Plaintiffs’ Trademarks are famous marks, as that term is used in 15 U.S.C. § 1125(c)(1),

         and have been continuously used and never abandoned. The innovative marketing and

         product designs of Plaintiffs’ Products have enabled Plaintiffs’ brands to achieve

         widespread recognition and fame and have made the Plaintiffs’ Trademarks some of the

         most well-known marks in the eyewear industry. The widespread fame, outstanding

         reputation, and significant goodwill associated with Plaintiffs’ brands have made the

         Plaintiffs’ Trademarks valuable assets of Plaintiffs.

11.      Plaintiffs have expended substantial time, money, and other resources in advertising and

         promoting the Plaintiffs’ Trademarks. In fact, Plaintiffs have expended millions of dollars

         annually in advertising, promoting and marketing featuring the Plaintiffs’ Trademarks.

         Plaintiffs’ Products have also been the subject of extensive unsolicited publicity resulting

         from their high-quality, innovative designs. As a result, products bearing the Plaintiffs’

         Trademarks are widely recognized and exclusively associated by consumers, the public,

         and the trade as being high-quality products sourced from Plaintiffs. Plaintiffs’ Products

         have become among the most popular of their kind in the U.S. and the world. The Plaintiffs’

         Trademarks have achieved tremendous fame and recognition which has only added to the

         inherent distinctiveness of the marks. Because of these and other factors, Plaintiffs’

         Trademarks have become famous. As such, the goodwill associated with Plaintiffs’

         Trademarks is of incalculable and inestimable value to Plaintiffs.

12.      Genuine Plaintiffs’ Products are sold only through authorized retail channels and are

         recognized by the public as being exclusively associated with Plaintiffs’ brands.

13.      For many years, Plaintiffs have operated websites at ray-ban.com, oakley.com, and

         costadelmar.com. Sales of Plaintiffs’ Products via these websites are significant. The



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         websites feature proprietary content, images and designs exclusive to Plaintiffs’ brands.

         Attached hereto as Exhibit 2 are true copies of portions of the ray-ban.com, oakley.com,

         and costadelmar.com websites.

14.      The success of Plaintiffs’ brands has resulted in their significant counterfeiting.

         Consequently, Plaintiffs have a worldwide anti-counterfeiting program and regularly

         investigate suspicious e-commerce stores identified in proactive Internet sweeps and

         reported by consumers. In recent years, Plaintiffs have identified numerous fully interactive

         e-commerce stores, including those1 operating under the seller aliases identified in

         Schedule A to the Complaint (the “Seller Aliases”), which were offering for sale and/or

         selling unauthorized and unlicensed products, including eyewear, using infringing and

         counterfeit versions of Plaintiffs’ Trademarks (the “Counterfeit Products”) to consumers in

         this Judicial District and throughout the United States.

15.      I perform, supervise, and/or direct investigations related to Internet-based infringement of

         Plaintiffs’ Trademarks. Our investigation shows that Defendants are using the Seller

         Aliases to sell Counterfeit Products from foreign countries such as China to consumers in

         the U.S. and elsewhere. I, or someone working under my direction, analyzed each of the e-

         commerce stores operating under the Seller Aliases and determined that Counterfeit

         Products were being offered for sale to residents of the United States, including Illinois

         residents. This conclusion was reached through visual inspection of the products listed for

         sale on each e-commerce store, the price at which the Counterfeit Products were offered

         for sale, other features commonly associated with e-commerce stores selling counterfeit

         products, and because Defendants and their e-commerce stores do not conduct business


1
 The e-commerce store urls are listed on Schedule A to the Complaint under the Online Marketplaces and
Domain Names.

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         with Plaintiffs and do not have the right or authority to use the Plaintiffs’ Trademarks for

         any reason. In addition, each e-commerce store offered shipping to the United States,

         including Illinois. Plaintiffs also conducted searches of the public WhoIs information

         regarding the Domain Names and identified the provided e-mail addresses for each domain.

         True and correct copies of screenshot printouts showing the active e-commerce stores

         operating under the Seller Aliases reviewed are attached as Exhibit 3, and WhoIs

         information for the Domain Names is attached as Exhibit 4.

16.      Defendants have targeted sales to Illinois residents by setting up and operating e-commerce

         stores that target United States consumers using one or more Seller Aliases, offer shipping

         to the United States, including Illinois, accept payment in U.S. dollars and, on information

         and belief, have sold Counterfeit Products to residents of Illinois.

17.      Defendants concurrently employ and benefit from substantially similar advertising and

         marketing strategies. For example, Defendants facilitate sales by designing e-commerce

         stores operating under the Seller Aliases so that they appear to unknowing consumers to be

         authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating

         under the Seller Aliases look sophisticated and accept payment in U.S. dollars via credit

         cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller

         Aliases often include content and images that make it very difficult for consumers to

         distinguish such stores from an authorized retailer. Plaintiffs have not licensed or authorized

         Defendants to use any of Plaintiffs’ Trademarks, and none of the Defendants are authorized

         retailers of genuine Plaintiffs’ Products.

18.      Many Defendants also deceive unknowing consumers by using Plaintiffs’ Trademarks

         without authorization within the content, text, and/or meta tags of their e-commerce stores



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         to attract various search engines crawling the Internet looking for websites relevant to

         consumer searches for Plaintiffs’ Products. Other e-commerce stores operating under the

         Seller Aliases omit using Plaintiffs’ Trademarks in the item title to evade enforcement

         efforts while using strategic item titles and descriptions that will trigger their listings when

         consumers are searching for Plaintiffs’ Products.

19.      E-commerce store operators like Defendants commonly engage in fraudulent conduct when

         registering the Seller Aliases by providing false, misleading and/or incomplete information

         to e-commerce platforms to prevent discovery of their true identities and the scope of their

         e-commerce operation.

20.      E-commerce store operators like Defendants regularly register or acquire new seller aliases

         for the purpose of offering for sale and selling Counterfeit Products. Such seller alias

         registration patterns are one of many common tactics used by e-commerce store operators

         like Defendants to conceal their identities and the full scope and interworking of their

         counterfeiting operation, and to avoid being shut down.

21.      Even though Defendants operate under multiple fictitious aliases, the e-commerce stores

         operating under the Seller Aliases often share unique identifiers, such as templates with

         common design elements that intentionally omit any contact information or other

         information for identifying Defendants or other seller aliases they operate or use. E-

         commerce stores operating under the Seller Aliases include other notable common features

         such as use of the same registration patterns, accepted payment methods, check-out

         methods, keywords, advertising tactics, similarities in price and quantities, the same

         incorrect grammar and misspellings, and/or the use of the same text and images.

         Additionally, Counterfeit Products for sale by the Seller Aliases bear similar irregularities



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         and indicia of being counterfeit to one another, suggesting that the Counterfeit Products

         were manufactured by and come from a common source and that Defendants are

         interrelated.

22.      E-commerce store operators like Defendants are in constant communication with each other

         and regularly participate in QQ.com chat rooms and through websites such as

         sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

         accounts, evading detection, pending litigation, and potential new lawsuits.

23.      Counterfeiters such as Defendants typically operate under multiple seller aliases and

         payment accounts so that they can continue operation in spite of Plaintiffs’ enforcement.

         E-commerce store operators like Defendants maintain off-shore bank accounts and

         regularly move funds from their financial accounts to off-shore accounts outside the

         jurisdiction of this Court to avoid payment of any monetary judgment awarded to Plaintiffs.

24.      Defendants are working in active concert to knowingly and willfully manufacture, import,

         distribute, offer for sale, and sell Counterfeit Products in the same transaction, occurrence,

         or series of transactions or occurrences. Defendants, without any authorization or license

         from Plaintiffs, have jointly and severally, knowingly and willfully used and continue to

         use Plaintiffs’ Trademarks in connection with the advertisement, distribution, offering for

         sale, and sale of Counterfeit Products into the United States and Illinois over the Internet.

25.      Monetary damages cannot adequately compensate Plaintiffs for ongoing infringement

         because monetary damages fail to address the loss of control of and damage to Plaintiffs’

         reputation and goodwill. Furthermore, monetary damages are difficult, if not impossible, to

         ascertain due to the inability to calculate measurable damage in dollars and cents caused to




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         Plaintiffs’ respective reputations and the goodwill associated therewith by acts of

         infringement.

26.      The goodwill of Plaintiffs and their respective reputations are irreparably damaged when

         Plaintiffs’ Trademarks are used in connection with the offering for sale or sale of goods not

         authorized, produced, or manufactured by Plaintiffs. Moreover, brand confidence is

         damaged, which can result in a loss of future sales and market share. The extent of harm to

         Plaintiffs’ reputations and goodwill and the possible diversion of customers due to loss in

         brand confidence are largely unquantifiable.

27.      Plaintiffs are further irreparably harmed by the unauthorized use of Plaintiffs’ Trademarks

         because counterfeiters take away Plaintiffs’ ability to control the nature and quality of the

         Counterfeit Products. Loss of quality control over goods offered for sale or sold under the

         Plaintiffs’ Trademarks and, in turn, loss of control over Plaintiffs’ respective reputations is

         neither calculable nor precisely compensable.

28.      The use of Plaintiffs’ Trademarks in connection with the offering for sale or sale of goods

         not authorized, produced, or manufactured by Plaintiffs is likely causing and will continue

         to cause consumer confusion, which weakens Plaintiffs’ brand recognition and reputation.

         Consumers who mistakenly believe that the Counterfeit Products he or she has purchased

         originated from Plaintiffs will come to believe that Plaintiffs offer low-quality products.

         Inferior quality products will result in increased skepticism and hesitance in consumers

         presented with genuine Plaintiffs’ Products, resulting in a loss or undermining of Plaintiffs’

         respective reputations and goodwill. Indeed, there is damage to Plaintiffs’ respective

         reputations and goodwill even if a consumer knows that the goods he or she is purchasing

         are counterfeit. Prospective consumers who see inferior Counterfeit Products worn by



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         others may mistakenly believe such goods to be genuine and may consequently develop a

         poor impression of Plaintiffs and Plaintiffs’ Trademarks. Such post-sale confusion results

         in damage to Plaintiffs’ respective reputations and correlates to a loss of unquantifiable

         future sales.

29.      Plaintiffs are further irreparably damaged due to a loss of exclusivity. Plaintiffs’ Products

         are meant to be exclusive. Plaintiffs’ extensive marketing efforts and innovative designs

         are aimed at growing and sustaining sales. Plaintiffs’ Trademarks are distinctive and signify

         to consumers that the products originate from Plaintiffs and are manufactured to Plaintiffs’

         high quality standards. When counterfeiters use Plaintiffs’ Trademarks to offer for sale or

         sell goods without Plaintiffs’ authorization, the exclusivity of Plaintiffs’ products, as well

         as Plaintiffs’ respective reputations, are damaged and eroded, resulting in a loss of

         unquantifiable future sales.

30.      Plaintiffs will suffer immediate and irreparable injury, loss, or damage if an ex parte

         Temporary Restraining Order is not issued in accordance with Federal Rule of Civil

         Procedure 65(b)(1).

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

         Executed this the _2nd_ day of March 2022 at Mason, Ohio.


                                                __/s/ Jason Groppe________________________
                                                Jason Groppe




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